                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                             Criminal Action No. 1:05CR21
                                                      (Judge Keeley)
GEORGE MARTIN,

                    Defendant.

                  MEMORANDUM OPINION AND ORDER DENYING
              DEFENDANT’S PRO SE MOTION TO REDUCE SENTENCE
        UNDER FIRST STEP ACT OF 2018 [DKT. NO. 298] AND DENYING
     AS MOOT DEFENDANT’S MOTION TO APPOINT COUNSEL [DKT. NO. 305]

       On March 14, 2019, the defendant, George Martin (“Martin”),

filed a pro se motion to reduce his sentence under the First Step

Act of 2018 (Dkt. No. 298), and on July 18, 2019, he filed a motion

to appoint counsel (Dkt. No. 305). Because he is not entitled to

relief under the First Step Act, the Court DENIES his motion for a

sentence reduction (Dkt. No. 298) and DENIES AS MOOT his motion to

appoint counsel (Dkt. No. 305).

                                 I. BACKGROUND

       On March 2, 2005, a grand jury sitting in the Northern

District    of    West   Virginia   returned     a   four-count    indictment,

charging Martin with one count of conspiring to distribute cocaine

base in violation of 21 U.S.C. §§ 841(b)(1)(A)(iii) and 846 (Count

One); two counts of aiding and abetting the distribution of cocaine

base in violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1),

841(b)(1)(C) (Counts Two and Three); and one count of distribution

of    cocaine     base   in   violation   of    21   U.S.C.   §§   841(a)(1),
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841(b)(1)(C) (Count Four) (Dkt. No. 1). On May 18, 2005, a grand

jury returned a superceding indictment, naming Martin in a fifth

count of using a firearm in relation to a drug trafficking offense

in violation of 18 U.S.C. § 924(c)(1)(A)(i) (Count Five) (Dkt. No.

22).

       Following a trial on all counts, a jury found Martin guilty of

Counts One, Two, Four, and Five (Dkt. No. 100). The Court then

imposed a total sentence of 270 months of incarceration and 5 years

of supervised released (Dkt. Nos. 106, 111). The parties appealed

Martin’s conviction and sentence (Dkt. Nos. 107, 109), and Martin

filed a pro se motion for retroactive application of the sentencing

guidelines for crack cocaine (cocaine base) offenses (Dkt. No.

139). The United States Court of Appeals for the Fourth Circuit

affirmed Martin’s convictions on Counts One, Two, and Four, vacated

his    conviction   on   Count   Five,   and   remanded   the   case   for

resentencing (Dkt. No. 132).

       At the resentencing hearing on January 12, 2011, the Court

determined that Martin was responsible for 11.23 kilograms of

cocaine base, which resulted in a guideline range of life in prison

(Dkt. Nos. 193 at 2). It then varied from the guideline range and

sentenced Martin to 270 months of incarceration and 5 years of
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supervised release (Dkt. Nos. 180, 187). Of significance to the

merits of the pending motion, Martin was sentenced under the 2010

edition     of   the    United     States        Sentencing    Guidelines,   which

incorporated the Fair Sentencing Act of 2010. The Court therefore

denied his pro se motion as moot (Dkt. No. 188). Martin then

unsuccessfully appealed his new sentence (Dkt. No. 182).

        On March 14, 2019, Martin filed the instant pro se motion for

a sentence reduction under the First Step Act of 2018 (Dkt. No.

28). The Government filed its response on April 11, 2019 (Dkt. No.

304), to which Martin did not reply. His motion is ripe for the

Court’s review.

                                II. APPLICABLE LAW

        To determine whether Martin is entitled to have his sentence

reduced, the Court must first determine whether such reduction is

permitted by the First Step Act. Under Section 404 of the First

Step Act, courts that have “imposed a sentence for a covered

offense” may “impose a reduced sentence as if sections 2 and 3 of

the Fair Sentencing Act of 2010 (Public Law 111–220; 124 Stat.

2372)    were    in    effect    at   the       time   the   covered   offense   was

committed.” Pub. L. No. 115-015, § 404, 132 Stat. 015, 015 (2018)


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(hereinafter “2018 FSA”). “However, defendants are ineligible for

a reduced sentence under the [First Step Act] if their sentence

‘was previously imposed or previously reduced in accordance with

the amendments made by sections 2 and 3 of the Fair Sentencing Act

of 2010.’” United States v. Evans, No.1:08CR00024-001, 2019 WL

1199474, at *1 (W.D. Va. Mar. 14, 2019) (quoting 2018 FSA §

404(c)).

                             III. ANALYSIS

     Here, Martin was resentenced using the 2010 Edition of the

United States Sentencing Guidelines, which incorporated sections 2

and 3 of the Fair Sentencing Act of 2010 (Dkt. No. 188). Because

his resentence was “previously imposed . . . in accordance with”

sections 2 and 3, Martin is ineligible for a sentence reduction

under the First Step Act of 2018. 2018 FSA § 404(c). Moreover, it

is worth nothing that, even were Martin eligible under the First

Step Act, his criminal history (category IV), relevant drug conduct

(11.23   kilograms   of   cocaine   base),   and   applicable   guideline

enhancements (three-level increase for role and two-level increase

for obstruction) would still result in a guideline range of life in

prison. Accordingly, Martin is not entitled to relief under the

First Step Act.
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                          IV. CONCLUSION

     For the reasons discussed, the Court DENIES Martin’s motion to

reduce his sentence (Dkt. No. 298) and DENIES AS MOOT Martin’s

motion to appoint counsel (Dkt. No. 305).

     It is so ORDERED.

     The Court DIRECTS the Clerk to transmit a copy of this Order

to Martin by certified mail, return receipt requested, and to

counsel of record by electronic means.

DATED: July 19, 2019

                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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